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                         IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH


  SALLY SYLVESTER, Individually and as                 STIPULATION FOR DISMISSAL WITH
  Personal Representative of the Estate of JESSE        PREJUDICE OF DEFENDANT BLUE
  LABRUM, Deceased, DIANE LARSEN,                            BIRD BODY COMPANY
  CAROLYN DUTSON, DON LABRUM,
  GARY LABRUM, DOYLE LABRUM,
  WAYNE LABRUM, and BRUCE LABRUM,                             Civil No. 2:18-CV-00470-DB

         Plaintiffs,                                            The Honorable Dee Benson

  vs.                                                      Magistrate Judge Cecilia M. Romero

  BLUE BIRD CORPORATION, et al.

         Defendants.


         Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiff Sally Sylvester,

  individually and as Personal Representative of the Estate of Jesse Labrum, Deceased, and

  Defendant Blue Bird Body Company, and the parties’ settlement agreement, by and through their

  undersigned counsel, stipulate and hereby move to dismiss the above-captioned action with

  prejudice. All parties shall bear their own respective attorneys’ fees and costs.

         A proposed order is submitted herewith.
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            DATED this 12th day of January, 2021.

                                        RAY QUINNEY & NEBEKER P.C.


                                        /s/ Gregory S. Roberts
                                        Gregory S. Roberts
                                        Attorneys for Defendant Blue Bird Body Company


            DATED this 12th day of January, 2021.

                                        FLINT LAW FIRM LLC


                                        /s/ Lawrence K. Holcomb    *Signed with permission*
                                        Lawrence K. Holcomb
                                        Attorneys for Plaintiffs

  1549229




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 12th day of January, 2021, I caused a true and correct copy of

  the within and foregoing STIPULATION FOR DISMISSAL WITH PREJUDICE OF

  DEFENDANT BLUE BIRD BODY COMPANY with the Clerk of Court using the CM/ECF

  system which sent notification of such filing upon all counsel of record:




                                                        /s/ Brandy Sears




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